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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                         INFORMATION

  Plaintiff,                                       Crim. No. 22– 182(JL)

               v.                                  Violation:

  JOSEPH FUENTES-FERNANDEZ                          18 U.S.C. §§ 1001(a)(1), 2

  and

  SALVEMOS A PUERTO RICO,

  Defendants.


                                      INFORMATION

The United States charges:

                                        Introduction

        1.      The Federal Election Commission (hereinafter, the “FEC”) was an agency and

department of the United States with jurisdiction to enforce the limits, prohibitions, and

requirements of the Federal Election Campaign Act of 1971, as amended, 52 U.S.C. § 30101,

et seq. (hereinafter, the “Election Act”). The Election Act regulated the influence of money on

politics. At all times relevant to the Information, the Election Act and associated regulations

set forth the following limitations and reporting requirements:

                a.    The Election Act applied to political committees that financed political

                      activity in connection with both federal and non-federal elections, and

                      which managed both federal and non-federal activities from a single

                      bank account.

                b.    The Election Act required such political committees to file periodic


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                    reports of receipts and disbursements identifying, among other things,

                    each person who contributed or donated to such committee during the

                    relevant reporting period whose contributions or donations had an

                    aggregate amount or value in excess of $200 within the calendar year,

                    together with the date and amount of any such contribution or donation.

                    These periodic reports, which were filed with the FEC and made

                    publicly available, were intended to provide citizens with a transparent

                    record of the true sources of funds flowing into the political committee.

      2.      Beginning in or about March 2020 and continuing until in or about November

2020, JOSEPH FUENTES-FERNANDEZ and SALVEMOS A PUERTO RICO

circumvented the Election Act through the use of shell nonprofit corporations, which

purported to make legal donations to political committee SALVEMOS A PUERTO RICO

in their own names rather than in the names of the true sources of the funds. By concealing

the identities of real donors to SALVEMOS A PUERTO RICO, and by falsely reporting that

the shell nonprofit corporations were the donors when in fact they were not, FUENTES and

SALVEMOS A PUERTO RICO deprived the public of information about the true source of

hundreds of thousands of dollars flowing into the Commonwealth of Puerto Rico’s political

system.

                            Relevant Individuals and Entities

      3.      FUENTES, a Virginia resident, was the President and Treasurer of

SALVEMOS A PUERTO RICO.

      4.      SALVEMOS A PUERTO RICO was an independent expenditure-only

political committee, or “Super PAC,” that was registered with the FEC and was organized


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primarily to support the 2020 election campaign of Public Official-1. SALVEMOS A

PUERTO RICO’s Statement of Organization filed with the FEC stated that the committee

“supports/opposes more than one Federal candidate.” At all relevant times, SALVEMOS A

PUERTO RICO had a single bank account. SALVEMOS A PUERTO RICO was therefore

obligated to file periodic reports about receipts and disbursements with the FEC.

       5.       Nonprofit-1 was a social welfare nonprofit organization exempt from taxation

under the provisions of § 501(c)(4) of the United States Internal Revenue Code.

       6.       Nonprofit-2 was a social welfare nonprofit organization exempt from taxation

under the provisions of § 501(c)(4) of the United States Internal Revenue Code.

       7.       Public Official-1 was an elected public official in the executive branch of the

government of Puerto Rico.

       8.       Individual-1 was an associate of Public Official-1 and significant fundraiser

who sought to obtain donations in support of the 2020 election campaign of Public Official-

1.

       9.       Individual-2 was the Secretary of Nonprofit-1 and Nonprofit-2.

       10.      Individual-3 was a consultant and attorney.

                                         COUNT 1
                        Scheme to Falsify and Conceal Material Facts
                               18 U.S.C. §§ 1001(a)(1) and 2

       11.      The preceding paragraphs of this Information are hereby re-alleged and

incorporated into this Count.

       12.      From in or about March 2020 and continuing until in or about November 2020,

in the District of Puerto Rico and elsewhere, the defendants FUENTES and SALVEMOS A

PUERTO RICO knowingly and willfully falsified, concealed, and covered up, by a trick,


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scheme and device, material facts; to wit, they made and caused to be made material false,

fictitious, and fraudulent statements or representations in a matter within the jurisdiction of

the executive branch of the United States, by causing SALVEMOS A PUERTO RICO to

make false statements in reports of receipts and disbursements filed with the FEC on or about

July 9, 2020, which falsely listed the names of straw donors Nonprofit-1 and Nonprofit-2 as

the true sources of the donations; and by continuing to funnel money through straw donors

Nonprofit-1 and Nonprofit-2 to SALVEMOS A PUERTO RICO exclusively because this

would enable SALVEMOS A PUERTO RICO to make further false statements

misrepresenting the identities of the true sources of donations in reports of receipts and

disbursements with the FEC.

                                    Purpose of the Scheme

       13.      The purpose of the scheme was for FUENTES and SALVEMOS A PUERTO

RICO to maximize donations to SALVEMOS A PUERTO RICO, in support of Public

Official-1, while avoiding the “true source” reporting requirements of the Election Act.

       14.      By ensuring that these donors were anonymous, FUENTES and SALVEMOS

A PUERTO RICO schemed to and did deprive the people of the Commonwealth of Puerto

Rico and the FEC of information concerning the “true source” of hundreds of thousands of

dollars in political spending that was provided to SALVEMOS A PUERTO RICO.

                             Manner and Means of the Scheme

       15.      FUENTES formed SALVEMOS A PUERTO RICO as the primary Super

PAC supporting Public Official-1.

       16.      FUENTES and others, including Individual-2, then formed Nonprofit-1 and

Nonprofit-2 as shell, conduit entities that would accept donations from individuals and


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entities seeking to support Public Official-1 in Public Official-1’s 2020 election campaign.

Nonprofit-1 and Nonprofit-2 were created for the sole purpose of funding SALVEMOS A

PUERTO RICO, and not to function as legitimate nonprofit organizations dedicated to

improving social welfare. Donations to Nonprofit-1 and Nonprofit-2 were generally

forwarded to SALVEMOS A PUERTO RICO, which spent the funds on advertising and

other expenses in support of Public Official-1.

       17.      SALVEMOS A PUERTO RICO, in turn, reported to the FEC that the source

of the donations was Nonprofit-1 and Nonprofit-2, rather than reporting the true donors who

provided the funds.

       18.      FUENTES, Individual-1, and Individual-2 communicated with each other

through text message, email, and Internet-based messaging applications to discuss aspects of

their scheme to avoid reporting the true source of these donations.

                             Acts in Furtherance of the Scheme

                                   Setting Up the Entities

       19.      On or about March 9, 2020, FUENTES signed and submitted an application

with the Commonwealth of Virginia to reinstate a corporation that was later renamed

SALVEMOS A PUERTO RICO.

       20.      On or about May 27, 2020, FUENTES signed and submitted a Statement of

Organization with the FEC for SALVEMOS A PUERTO RICO, officially registering the

entity as a Super PAC.

       21.      On or about June 10, 2020, Nonprofit-1 and Nonprofit-2 were incorporated as

nonprofit entities in the Commonwealth of Puerto Rico. These entities, which referred to

themselves as “foundations,” were incorporated within seven minutes of each other and listed


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the same mailing address. Bank records reflect that both organizations also listed the same

corporate officers. In a text message sent two days prior, FUENTES explained: “I asked them

to open [Nonprofit-1 and Nonprofit-2] so that there is more than one entity making

contributions and avoid appearances of being connected.”

       22.      On or about June 17, 2020, Nonprofit-1 and Nonprofit-2 opened bank accounts

at Bank-1. The bank account opening documents listed Individual-2 as the Secretary of

Nonprofit-1 and Nonprofit-2.

                                  The June 2020 Donations

       23.      Between on or about June 18, 2020, and on or about June 22, 2020, three

entities provided funds (via check or electronic funds transfer) totaling approximately

$200,000 to Nonprofit-1.

       24.      Between on or about June 15, 2020, and on or about June 23, 2020, two

individuals and two entities collectively provided funds via separate checks totaling

approximately $110,000 to Nonprofit-2.

       25.      On or about June 24, 2020, Individual-2 sent a text message to FUENTES

stating: “Tomorrow we will generate the electronic transfers to SAPR.”

       26.      Between on or about June 22, 2020, and on or about June 25, 2020, the above-

described checks were deposited into the bank accounts for Nonprofit-1 and Nonprofit-2 (with

the exception of one individual’s check, which was deposited later).

       27.      On or about June 25, 2020, Nonprofit-1 wired approximately $175,000 to

SALVEMOS A PUERTO RICO and Nonprofit-2 wired approximately $75,000 to

SALVEMOS A PUERTO RICO.

       28.      On or about July 9, 2020, FUENTES filed a Report of Receipts and


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Disbursements with the FEC on behalf of SALVEMOS A PUERTO RICO. The report listed

only two donations. First, the report stated that SALVEMOS A PUERTO RICO had

received $175,000 from Nonprofit-1. Second, the report stated that SALVEMOS A PUERTO

RICO had received $75,000 from Nonprofit-2. The report did not provide any information

about the true source of these donations, which—as FUENTES was aware—in fact came

from one individual and five entities. Nonprofit-1 and Nonprofit-2 were merely conduits for

these funds.

       29.      On or about August 9, 2020, FUENTES sent a text message stating: “I haven’t

wanted to have any type of communication because you don’t know if the feds have the lines

intercepted. You have to handle this very carefully.”

                                   The October 2020 Donations

       30.      Between on or about October 15, 2020, and on or about October 20, 2020, four

entities collectively provided checks totaling approximately $220,000 to Nonprofit-2.

       31.      On or about October 16, 2020, Individual-2 sent a text message to FUENTES

and others stating: “As soon as I have an accounting of (i) what has been or will be sent to

the PAC for deposit and (ii) what is going to be deposited in [Nonprofit-1 and Nonprofit-2]

to donate to the PAC, I’ll let you know.”

       32.      Additionally, on or about October 16, 2020, FUENTES sent a text message to

a potential donor who asked about whether donors could remain anonymous. FUENTES

explained, “I have to inform [the FEC] who but you can give them through an entity and that

way we do not disclose who is behind the donation.” He added: “You can use a third party

to not disclose the true donor.”

       33.      Also on or about October 16, 2020, FUENTES sent a text message to


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Individual-2 and others stating: “Send me the bank account info for [Nonprofit-1 and

Nonprofit-2] so that . . . people who are donating can remain anonymous.” Individual-2 then

provided wiring instructions for Nonprofit-1 and Nonprofit-2 to FUENTES.

       34.      FUENTES subsequently sent the potential donor the wiring instructions for

Nonprofit-1 and Nonprofit-2, and texted the donor: “It’s totally anonymous in the accounts

I gave you. If you want[,] call me.”

       35.      On or about October 19, 2020, two entities provided checks totaling

approximately $75,000 to Nonprofit-1.

       36.      On or about October 16, 2020, and October 21, 2020, the $220,000 in checks

to Nonprofit-2 and the $75,000 in checks to Nonprofit-1 were deposited in their respective

bank accounts.

       37.      On or about October 19, 2020, Individual-2 sent a text message to FUENTES

and others stating: “Transfers for $75k and $10k made today.” On or about October 20, 2020,

Nonprofit-1 wired approximately $10,000 to SALVEMOS A PUERTO RICO and

Nonprofit-2 wired approximately $75,000 to SALVEMOS A PUERTO RICO.

       38.      On or about October 21, 2020, Nonprofit-1 wired approximately $50,000 to

SALVEMOS A PUERTO RICO and Nonprofit-2 wired approximately $70,000 to

SALVEMOS A PUERTO RICO. That same day, Individual-2 sent a text message to

FUENTES and others stating: “I just generated transfers for $120k ($50k + $70k).”

                          Individual-2’s Explanation of the Scheme

       39.      On or about October 13, 2020, Individual-2 explained to Individual-3 that

Individual-3 could support Public Official-1 by providing funds to either Nonprofit-1 or

Nonprofit-2, which would in turn remit the funds to SALVEMOS A PUERTO RICO.


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        40.      On or about October 23, 2020, Individual-2 explained that a check Individual-

3 was providing to Nonprofit-2 would go “to the foundation, and it is the foundation who

will, at the right moment, make the donation.” Individual-2 further explained that “if you

check the PAC’s FEC, the only reported donations are the ones from the foundation.”

                                The November 2020 Donations

        41.      Between on or about October 21, 2020, and on or about November 2, 2020,

Nonprofit-2 also received approximately $307,000 in donations from six individuals and three

entities.

        42.      On or about November 16, 2020, Nonprofit-2 wired approximately $40,000 to

SALVEMOS A PUERTO RICO.

        All in violation of 18 U.S.C. §§ 1001(a)(1), 2.




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                                  FORFEITURE ALLEGATION
                             28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(D)

       43.      The preceding paragraphs of this Information are hereby re-alleged and

incorporated in this Allegation.

       44.      Pursuant to 28 U.S.C. § 2461(c) and 18 U.S.C. § 981(a)(1)(D), the United States

gives notice to the defendants JOSEPH FUENTES-FERNANDEZ and SALVEMOS A

PUERTO RICO that in the event of a conviction for the offense charged in Count One of

this Information, all property, real or personal, which represents or is traceable to the gross

receipts obtained, directly or indirectly, from such offense, is subject to forfeiture.

                                            Money Judgment

       45.      Defendants are notified that upon conviction, a money judgment may be

imposed equal to the total value of the property subject to forfeiture.

                                            Substitute Assets

       46.      Defendants are notified that if property subject to forfeiture, as a result of any

act or omission of Defendants,

             a. cannot be located upon the exercise of due diligence;

             b. has been transferred or sold to, or deposited with, a third party;

             c. has been placed beyond the jurisdiction of the court;

             d. has been substantially diminished in value; or

             e. has been commingled with other property that cannot be divided
                without difficulty,




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the United States will seek to forfeit any other property of Defendants up to the total value of

the property subject to forfeiture pursuant to 21 U.S.C. § 853(p), as incorporated by reference

in 28 U.S.C. § 2461(c) and 18 U.S.C. § 982(b)(1).




 W. STEPHEN MULDROW                               COREY AMUNDSON
 United States Attorney                           Chief, Public Integrity Section


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